        3:12-cv-03191-RM-BGC # 10             Page 1 of 2
                                                                                           E-FILED
                                                        Wednesday, 19 December, 2012 11:54:59 AM
                                                                      Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

DR. MARK W. STURDY d/b/a                              )
ROCHESTER VETERINARY CLINIC                           )
on behalf of itself and a class,                      )
                                                      )
               Plaintiff,                             )       12 CV 3191
                                                      )
               v.                                     )
                                                      )       Honorable Judge Richard Mills
PROMED FINANCIAL, INC.,                               )       Magistrate Judge Byron G. Cudmore
and JOHN DOES 1-10,                                   )
                                                      )
               Defendants.                            )

                                   FED.R.CIV.P. 41(a)(1)
                            NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff Dr. Mark W. Sturdy d/b/a Rochester Veterinary

Clinic (“Plaintiff”), hereby stipulates and agrees to the dismissal of Plaintiff’s individual claims

against Defendant with prejudice, with each party bearing its own costs. Plaintiff's class claims are

dismissed without prejudice and with each party bearing its own costs. This stipulation of dismissal

disposes of the entire action.

                                                      s/ Dulijaza Clark
                                                      Dulijaza (Julie) Clark


Daniel A. Edelman
Cathleen M. Combs
James O. Latturner
Dulijaza Clark
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
120 South LaSalle Street, Suite 1800
Chicago, Illinois 60603
(312) 739-4200
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                                CERTIFICATE OF SERVICE

        I, Dulijaza Clark, certify that on December 19, 2012, I caused a true and accurate copy of
the foregoing document to be served via U.S. Mail on the following party:

       Promed Financial, Inc.
       C/o Registered Agent Vicki A McFarland
       14742 Newport Avenue, Ste. 209
       Tustin, CA 92780


                                                     s/ Dulijaza Clark
                                                     Dulijaza (Julie) Clark



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